       Case 14-60041 Document 1021 Filed in TXSB on 03/22/18 Page 1 of 3



                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           VICTORIA DIVISION
                                    §
In re:                              § Chapter 11
                                    §
BUCCANEER RESOURCES, LLC, et al., § Case No. 14-60041 (DRJ)
                                    §
       Debtors.                     § Jointly Administered
                                    §

          LIQUIDATING TRUSTEE’S SEMI-ANNUAL REPORT FOR PERIOD
             FROM SEPTEMBER 1, 2017 THROUGH FEBRUARY 28, 2018


        Jeff Compton, liquidating trustee (the “Liquidating Trustee”) appointed under the order
[dkt. no. 591] confirming The First Amended Joint Plan of Reorganization for the Debtors and
the Debtors-in-Possession (the “Plan”), makes this semi-annual report under section 7.6.3 of the
Plan for the period from September 1, 2017 through February 28, 2018.

       Section 7.6.3. of the Plan requires that the Liquidating Trustee

       prepare[] a semi-annual report illustrating (i) receipts and disbursements during
       the prior two quarters, (ii) a schedule of all asset dispositions, (iii) a schedule of
       Distributions made, (iv) a summary listing of the status of the resolution of
       objections to Claims and Causes of Action, and (v) a list of payments made to
       Liquidating Trust Professionals. Such semi-annual report shall be distributed to
       the Post-Confirmation Committee, and made available to any party in interest
       upon request, within fifteen (15) Business Days after the end of the relevant report
       preparation period.

This report covers the two quarters from September 1, 2017 through February 28, 2018.

                                I. Receipts and Disbursements

Cash Receipts and Disbursements

During the period of this report, the Liquidating Trustee has received a total of $1,204.57. The
Liquidating Trustee has disbursed a total of $108,665.25 during this period. A detailed list of all
receipts and disbursements is attached to this report as Exhibit A.

Total funds on deposit by the trust equal $875,615.32 as of February 28, 2018. Those funds
were held as follows: (i) $72,738.04 was on deposit in a checking account with Texas Capital
Bank to pay expected operating expenses of the Trust, of which amount $2,573.89 was
attributable to uncleared checks included in previously reported disbursements (i.e. uncleared
distribution checks), and (ii) $802,877.28 invested in a Merrill Lynch account through a money
market fund that invests in cash, U.S. Treasury bills, notes and other obligations of the U.S.

                                                 1
       Case 14-60041 Document 1021 Filed in TXSB on 03/22/18 Page 2 of 3



Treasury. The estimated annual yield was 0.50% on the money market fund as of February 28,
2018.

The only receipts of the Liquidating Trust during this period were for interest income.

Disbursements were for United States Trustee fees, taxes, professional fees and asset
preservation costs.

                                     II. Asset Dispositions

There have been no asset dispositions during the two quarters covered by this report.

                                       III. Distributions

The Liquidating Trustee expects but cannot assure future distributions of approximately
$3,500,000 based upon expected receipts prior to case wrap-up. These estimated distributions
take into account the resolution of all claims held by the Trust. The expected date of such
distributions is within 120 days from this report.

To date, $11.5 million has been distributed to holders of $43.8 million of claims for a return of
26%. The estimated additional $3,500,000 would produce a 34% total distribution.

         IV. Status of the Resolution of Objections to Claims and Causes of Action

Objections to Claims

All previously disputed claims have now been resolved.

Causes of Action

Since the inception of the Trust, the Liquidating Trustee was able to resolve 10 avoidance claims
prior to filing an adversary proceeding. The amount recovered from these 10 avoidance claims is
$129,479.39 to the Trust after attorney fees but before expenses.

Additionally, the Liquidating Trustee filed 29 adversary proceedings to avoid transfers made by
the debtors prior to bankruptcy. All of these adversary proceedings have now been resolved. 26
of these adversary proceedings have been resolved through settlement, two through the entry of
default judgments, and one proceeding was dismissed upon receipt of further documentation. To
date, the net recovery to the Trust after attorney fees but before expenses from these adversary
proceedings is $452,415.13.

In total, after expenses through February 28, 2018 of $19,791.60, the net recovery to the Trust
from avoidance claims and actions after attorney fees and expenses is $562,102.92. To date, the
Liquidating Trust has received $537,102.92 of this amount. The remaining amount of $25,000 is
currently held in the Liquidating Trustee’s counsel’s trust account pending distribution. The
following table summarizes these collections from avoidance actions to date:




                                                2
       Case 14-60041 Document 1021 Filed in TXSB on 03/22/18 Page 3 of 3




                                                               Since Inception 
                                                                 of the Trust
        Collections Net of Attorney Fees:
         Before Filing Adversary Proceedings                   $    129,479.39 A
         From Adversary Proceedings                            $    452,415.13 B
        Collections Net of Attorney Fees                       $    581,894.52 C = A + B

        less: Expenses                                         $     (19,791.60) D
        Net Recovery to the Trust                              $    562,102.92 E = C ‐ D

        Breakdown by Location:
         Cash Transferred into Liquidating Trust Bank Account $    537,102.92
         Held by Counsel                                      $      25,000.00



Also, the Liquidating Trustee retained counsel to pursue the Trust’s claims against the Debtors’
officers and directors. During a previous reporting period, the Liquidating Trust reached a
confidential resolution of the claims against three of the four defendants. Shortly after the close
of this reporting period, the Liquidating Trust reached a confidential resolution of the claims
against the remaining defendant.

                         V. Payments to Liquidating Trust Professionals

The Liquidating Trustee has paid a total of $90,528.65 to Liquidating Trust Professionals during
the period covered by this report. A detailed list of these payments is attached as Exhibit B.

DATED: March 22, 2018




                                               Jeff Compton
                                               Liquidating Trustee.




                                                  3
